Case 8:23-cv-00485-MSS-CPT Document 11 Filed 03/14/23 Page 1 of 2 PagelD 104

UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF FLORIDA

 

Michael T. Flynn, an individual

 

Plaintiff
Case No.: 8:23-cy-00485-MSS-CPT
BS.
United States of America
Defendant
FRIDA EK E

I, Rebekah Torres, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet, and Complaint with Exhibits in the above
entitled cage.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 03/08/2023 at 1:18 PM, I served U.S. Attorney's Office for Middle District of Florida c/o Roger B. Handberg at 400 North
Tampa Street, Suite 3200, Tampa, Florida 33602 with the Summons, Civil Cover Sheet, and Complaint with Exhibits by serving
Joycelyne Figueroa, Legal Assistant, authorized to accept service.

Joycelyne Figueroa is described herein as:

Gender: Female Race/Skin: White Age: 26-31 Weight: 110-115 Height: 4"10"-5'3" Hair: Dark Brown Glasses: No

I declare under penalty of perjury that this information is true and correct.

 

(FE | Corte ——s

Executed On 3% Hf 3 fe 3 Rebekah Torres
Client Ref Number:N/A

Job #: 1615400

 

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050

 
   

 

& wh, Notary Public State of Florida
£2 %%, Caleb Ramos

6 Sh gg My Commission GG 951295
6 tah Expires 02/02/2024

 
  
   
LASER ASaCvPOE MSS GAT cReguTmarhs Filed 0299/23 Rage b of Rageliy 295

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Middle District of Florida

MICHAEL T. FLYNN

Plaintiff(s)

Vv. Civil Action No. 8:23-cv-00485-MSS-CPT

UNITED STATES OF AMERICA

 

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Roger B. Handberg
U.S. Attorney's Office for Middle District of Florida
400 North Tampa Street, Suite 3200
Tampa, Florida 33602

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed_R, Civ,
P.12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Jared J. Roberts

Binnall Law Group, PLLC
717 King Street, Suite 200
Alexandria, Virginia 22314

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

   

CLERK OF COURT 8) 3 oe
Lisa Silvia

 

March 6, 2023
Date:

Signature of Clerk or Deputy Clerk
